Morgan Construction Company, Petitioner, v. the Secretary of War, RespondentMorgan Constr. Co. v. Secretary of WarDocket No. 143-RUnited States Tax Court11 T.C. 764; 1948 U.S. Tax Ct. LEXIS 37; November 4, 1948, Promulgated *37  1. Renegotiation Act is constitutional as applied to petitioner.2. The provisions of section 403 (i) (1) (E) of the Renegotiation Act of 1943, exempting from renegotiation construction contracts with a Department awarded as a result of competitive bidding, does not apply to fiscal years ended prior to July 1, 1943.3. Petitioner, as the successful bidder on paving contracts, was permitted to use without charge stone on Government-owned property.  It quarried and crushed this stone and hauled it to Camp Hood, where it was used in the construction of roads and sidewalks. Held, petitioner is not entitled to use as its cost the allowance provided in section 403 (i) (3) of the Renegotiation Act.4. Mimeographed instructions for filling out a form sent to contractor by the division engineer of the War Department at Dallas, Texas, instructing contractor to compute rental on owned equipment in accordance with the schedule of average ownership expenses issued by Associated General Contractors of America, Inc., is not an interpretation placed on a statute by an administrative agency which is binding upon this Court, and in de novo proceeding it is not bound by what a Department did*38  or did not consider to be an item of cost.5. Petitioner's excessive profits for the fiscal year ended December 31, 1942, are in the amount originally determined by respondent, who did not sustain his burden of proving that petitioner had additional excessive profits. Joseph I. Worsham, Esq., and Joseph A. Worsham, Esq., for the petitioner.Frederick N. Curley, Esq., and William V. Crosswhite, Esq., for the respondent.  Harlan, Judge.  HARLAN *765  The respondent determined that excessive*39  profits of $ 245,000 were realized by petitioner during the year ended December 31, 1942, on contracts and subcontracts subject to renegotiation under section 403 of the Sixth Supplemental National Defense Appropriation Act of 1942, as amended, and advised petitioner of this determination by notice dated November 21, 1944.  In an amended answer respondent affirmatively alleges that petitioner realized excessive profits from renegotiable sales in an amount not less than $ 270,000, and prays that the determination be accordingly increased.The questions presented are as follows:(1) Is the Renegotiation Act of 1942, as amended, constitutional in its application to the petitioner for the fiscal year ended December 31, 1942?(2) Are petitioner's contracts exempt from renegotiation under section 403 (i) (1) (E) of the Renegotiation Act?(3) Is the petitioner entitled to claim as an item of cost the market value of crushed rock obtained from Government-owned land?(4) Are Associated General Contractors' rental rates to be considered as an item of cost in lieu of actual depreciation, maintenance, and repairs incurred by petitioner upon equipment which it owned?(5) What is the amount of *40  petitioner's excessive profits for the fiscal year ended December 31, 1942?*766  The case was presented by stipulation and evidence adduced at the hearing.FINDINGS OF FACT.The stipulated facts are hereby found accordingly.The Morgan Construction Co., the petitioner herein, was a corporation organized under the laws of the State of Texas in 1923, with its principal office in Dallas, Texas.  It was voluntarily dissolved on December 28, 1943.  At all times material in this proceeding, it had 1,500 shares of stock outstanding, of which 1,498 were owned by A. E. Morgan and two were qualifying shares.  Upon its dissolution A. E. Morgan received all of its assets, as sole owner.During 1942, and for many years prior thereto, petitioner specialized in the construction of highways and paving, such as asphalt surfacing, and processing flexible base materials.  Most of petitioner's contracts were performed in the State of Texas.  The type of road construction performed by petitioner during 1942 was the same as that performed by it during prewar years.On March 31, 1942, petitioner entered into contract No. W-2161-eng-182 with the United States of America, for the construction of flexible*41  base, asphalt surfaced roads and sidewalks at Camp Hood, near the town of Killeen, Hill and Coryell Counties, Texas.  This contract was let as a result of advertising for competitive bids.  Five were submitted.  Petitioner's bid was $ 53,489.30 below that of the next lowest bidder and was in the original amount of $ 613,510.69.  Subsequent to the signing of this contract it was amended, changed, or varied by negotiated agreements between the parties.  After changes and amendments, it provided for the payment of $ 1,089,257.88 to petitioner for the satisfactory performance of the work mentioned therein.The contract as amended provided that the specifications, as established, were to conform generally to the "Standard Texas Highway Department Specifications" originally published in 1938.  Those specifications remained constant during 1942, and were not changed or varied during that year.  The contract also provided that the petitioner could, and it in fact did, rent from the respondents 10 one and one-half ton steel Galion trucks at the rate of $ 150 per month per truck.  The sum of $ 6,078.33 paid as rentals was charged as an item of direct cost to this contract on the books and records*42  of petitioner.The contract also provided that all grading and preparation of the subbase for the roads and sidewalks which petitioner was to construct was to be performed by others.Notice to proceed with the work was issued April 11, 1942.  However, prior to the end of March petitioner had begun moving onto the job, setting up equipment, building shops and office buildings.  *767  The crushing of rock began April 20 or 22, 1942.  The petitioner commenced the actual laying of flexible base on May 10, 1942, and the work on contract No. W-2161-eng-182 was completed by December 24, 1942.Two other small contracts, No. W-2161-eng-1020 and No. W-2161-eng-1097, covering additional work at Camp Hood of a similar nature, were executed on October 9, 1942, and November 2, 1942, respectively, by petitioner and the United States.Under these three contracts the petitioner performed during its fiscal year ended December 31, 1942, the following work at Camp Hood, Texas: 647,418 cu. yds. of flexible base, in place112,836 sq. yds. of single asphalt surface treatment, in place147,733 sq. yds. of double asphalt surface treatment, in place58,713 sq. yds. of triple asphalt surface treatment, *43  in place1,350,043 sq. yds. of prime coat, in place146,948 sq. yds. flexible base sidewalks, including prime coat applied, in place15,048 lin. feet 4" un-reinforced concrete pile in culverts under walksThe United States Government owned property in and about Camp Hood containing rock in place and at the time petitioner and others bid they were told and it was agreed by and between them and the Government that the successful bidder might use the rock from this Government-owned property without payment of any royalty or compensation to the Government, provided that the rock when quarried and crushed met the specifications as established by the contract.  All of the rock quarried, crushed, and used in the construction of the flexible base under the three contracts was quarried and obtained from Government-owned property.  No royalty was charged.  However, the standard royalty payable to the owner of land from which rock is quarried is 5 cents per cubic yard.The number of cubic yards of stone quarried by petitioner from Government-owned property during 1942, and the disposition made thereof, were as follows:647,418 cu. yds. -&nbsp;placed in roads at Camp Hood24,491 cu. yds. -&nbsp;placed in sidewalks at Camp Hood* 9,218 cu. yds. -&nbsp;sold to others1,592 cu. yds. -&nbsp;sold to others and hauled682,719 cu. yds. -&nbsp;total*44 The sums received by petitioner from its sales of crushed rock to others totaled $ 9,931.24 during 1942.  These sums were credited against petitioner's cost of operation.  The sales were made at the request *768  of the Government as an accommodation to some contractors who did not have any crushing equipment.During the year ended December 31, 1942, the petitioner had income from all sources of $ 1,359,158; costs and expenses attributable to that income of $ 979,356; and a profit before taxes of $ 379,802.  The total income received or accrued by petitioner during 1942 from Government contracts subject to renegotiation amounted to $ 1,044,942; costs and expenses attributable to these contracts were $ 706,618; and the profit derived therefrom before taxes was $ 338,324.Petitioner's gross income and net profit before state and Federal income taxes for the years 1936 to 1939, inclusive, were as follows:YearIncomeNet profit1936$ 453,592$ 26,899&nbsp;1937467,71714,144&nbsp;1938321,338* (20,283)1939408,87812,088&nbsp;*45 During 1942, the petitioner received the sum of $ 314,216 on work performed under contracts which were not with the United States Government.  Costs and expenses attributable to this non-Government business amounted to $ 272,738; and profit realized therefrom before taxes was $ 41,478.Petitioner raised the unit price (price per cubic yard) charged for work performed on Government contracts during 1942 because additional work called for in original contract required much longer haul of water and rock.Petitioner's balance sheets show assets, liabilities, and net worth as of December 31, 1936, to December 31, 1939, inclusive, and as of December 31, 1941, and December 31, 1942, as follows:AssetsLiabilitiesNet worth1936$ 181,868$ 32,083$ 149,7851937189,25448,384140,8701938170,75350,591120,0621939159,88532,167127,7181941265,66268,139197,5231942* 576,935* 334,567* 242,368At some undisclosed time when renegotiation of its profits on Government contracts was under consideration, the petitioner received from the office of the division engineer of the War Department at Dallas, Texas, a mimeographed*46  sheet containing "Instructions for preparation of PAS-CD Form No. 6." The instruction with reference to item 2D (2) reads as follows:*769  Attach schedule showing make, cost, age, and time used on this job of each piece of equipment.  Compute rental on the basis of "Expense per Working Month -- Dollars," according to A. G. C. [The Associated General Contractors of America, Inc.] Schedule of Average Ownership Expenses, 1938 Edition."Note: 1." on the same sheet contains the following statement:Rentals charged for use of your previously owned equipment as entered in Item 2D (2) cover depreciation, overhauling, major repairs and painting, interest, taxes and insurance.  Do not include elsewhere in your job costs any duplication of these items.The cost and depreciated value of petitioner's equipment for the years 1936 to 1939, inclusive, and 1941 and 1942, were as follows:1936193719381939Road construction equipment$ 111,430$ 114,294$ 113,352$ 121,801Tractors and shovels47,65359,34063,02571,178Automobiles and trucks49,25648,29138,04131,664208,339221,925214,418224,643Less depreciation98,113113,255120,879135,459Depreciated value110,226108,67093,53989,184*47 Average194119421936-1939Road construction equipment$ 115,219$ 143,524$ 160,522Tractors and shovels60,29975,35183,278Automobiles and trucks41,81312,23514,140217,331231,110257,940Less depreciation116,919104,263152,119Depreciated value100,412126,847105,821Normal depreciation on equipment owned by petitioner and used during the performance of Government contracts during the year 1942 was $ 27,300.  The accelerated depreciation on the same equipment which was used in performance of the same Government contracts during 1942 was an additional sum of $ 10,391.During the period from April 1942 to December 1942, inclusive, petitioner purchased the following equipment:Road-building equipment$ 16,998Tractors and shovels7,926Autos, trucks, and trailers3,076Total28,000This purchased equipment was the standard type of equipment which petitioner used in 1942 and would normally use in its peacetime operations.From 1944 to 1946, inclusive, A. E. Morgan, after dissolution of petitioner corporation, sold machinery and road-building equipment which had belonged to the petitioner corporation for a profit of *48  $ 85,653, after an allowance of depreciation and selling expenses.Respondent, on November 21, 1944, determined that petitioner had received during 1942 excessive profits in the amount of $ 245,000 from contracts subject to renegotiation. Subsequent to the filing of its petition for redetermination, petitioner deposited approved Government bonds as security for the payment of any excessive profits, less appropriate tax credit.*770  During the year 1942 petitioner's profits from contracts subject to the renegotiation were excessive within the meaning of the Renegotiation Act.During the year 1942, petitioner realized from sales subject to renegotiation excessive profits in the amount of $ 245,000.OPINION.Petitioner contends (1) that the application of the Renegotiation Act to a contract executed before enactment of the act, where the contract contains no provision for renegotiation and performance had begun, constitutes a taking of property without due process of law in violation of the Fifth Amendment to the Constitution of the United States, and (2) that the Renegotiation Act is unconstitutional in that it improperly delegates power to an administrative official in authorizing*49  him to determine what constitutes excessive profits, without providing any reasonable standard to guide the exercise of such power.  On brief petitioner does not argue those contentions, and recognizes the fact that this Court has held that the Renegotiation Act is constitutional, both in its prospective and retrospective applications.  Stein Brothers Manufacturing Co. v. Secretary of War, 7 T. C. 863; Ring Construction Corporation v. Secretary of War, 8 T. C. 1070; National Electric Welding Machines Co. v. Secretary of War, 10 T. C. 49. The Supreme Court of the United States, on June 14, 1948, held to the same effect in Lichter v. United States, 334 U.S. 742"&gt;334 U.S. 742. The Renegotiation Act is constitutional as applied to petitioner.In its petition, petitioner alleges that the respondent's determination of excessive profits was erroneous because contrary to and in violation of the express provision of section 403 (i) (1) (E) of the Renegotiation Act exempting from renegotiation contracts with a Department awarded as the result of competitive bidding for*50  the construction of any building, structure, improvement, or facility.  Petitioner's brief contains no reference to or any argument in support of this assignment of error, and presumably petitioner has waived or abandoned it.  The provision relied upon became part of the Renegotiation Act in 1943 and, inasmuch as it was not made retroactive, it has no application to the year 1942, which is involved in this proceeding.Petitioner next contends that, having in the course of the performance of its contract produced a natural deposit and processed it to and beyond the first form suitable for industrial use, it is entitled, for the purpose of renegotiation, to a cost allowance substantially equivalent to its sale or market price.In support of this contention petitioner urges that Congress did not intend to provide for the renegotiation of profits realized from the quarrying and crushing of stone, and expressly exempted such products *771  in section 403 (i) (3) of the Renegotiation Act of 1943, which was made retroactive to the year 1942 here involved.  This section and section 403 (i) (1) (ii) of the Renegotiation Act of 1942, hereinafter discussed, are set forth in the margin.  *51 1*52  The respondent contends that section 403 (i) (3) was enacted solely to protect the owners of wasting or depleting assets, and, therefore, has no application to petitioner, which never owned or had any property interest in the limestone in question.Section 403 (i) (3), upon which petitioner relies, supplements section 403 (i) (1) (ii) of the Renegotiation Act of 1942, which provides for the exemption from renegotiation of contracts or subcontracts for the product of a mine which had not been processed, refined, or treated beyond the first form or state suitable for industrial use. A joint regulation issued under date of February 1, 1943, by the Departments named in the Renegotiation Act of 1942, interpreting and applying section 403 (i) (1) (ii), listed a number of products which were exempted thereunder, one of which was "Aggregates consisting of washed or screened sand, gravel or crushed stone." Petitioner is not entitled to the benefits of this section because it did not have a contract or subcontract for the product of a mine.The purpose of section 403 (i) (3) was to place producers of mineral products who processed, refined or treated such products to and beyond the first form*53  or state suitable for industrial use in a position comparable to producers who sold their products at the exempt stage.  2*772  As originally submitted to the Senate Committee on Finance, this section provided that this relief be given to producers who processed an exempted product "to or beyond the first form or state" at which the exemption terminated, but this was changed to read "to and beyond," so that it "would not apply to a producer who purchased the product at the exempted stage at a cost which might vary materially from the market value at the time of its use." See Ex. A, "Data on Renegotiation of Contracts, Dec. 9, 1943, printed for use of Committee on Finance, United States Senate."*54  Because of its retroactive application, the regulation interpreting and applying section 403 (i) (3) is contained in the joint renegotiation manual for the fiscal years ended on or prior to June 30, 1943, issued by the various Departments named in the Renegotiation Act of 1942.  It provides as follows:343.4 Cost Allowance for Raw Materials and Agricultural Commodities in the Case of Integrated Producers.* * * *(2) Interpretation and Application.  Where a contractor (a) processes, refines, or treats a product of a mine, oil or gas well, or other mineral or natural deposit, or timber, to the first form or state suitable for industrial use, and further refines, processes or treats such product beyond the first form or state suitable for industrial use in order to perform his contract, or (b) produces or acquires an agricultural product and processes, refines or treats such agricultural product to and beyond the first form or state in which it is customarily sold or in which it has an established market, then in such cases for the purposes of statutory renegotiation the product will be treated as an item of cost of the performance of such contract in such amount as, in the opinion *55  of the Board, fairly represents a properly applicable allowance. In determining the proper allowance, due consideration shall be given to the established sale or market price where there is a representative market for the product in the exempt state, and to such other factors as may be necessary to reflect the purpose and intent of the statutory exemption.  In general it is the purpose and intent of this provision to allow to the contractor engaged in an integrated process of the type described, an item of cost substantially equivalent to that granted by the statute to others who sell an exempt product, namely what he could have realized if he had sold the exempt product at the intermediate stage.On brief petitioner argues that it quarried and crushed stone and that such "an operation is obviously a processing or treatment, and that it brings the stone to its first state suitable for industrial use is shown by the fact that certain companies make a business of quarrying and crushing stone and then selling it in such form." Inasmuch as the regulations heretofore quoted provide in effect that quarrying and crushing stone brings it to the exempt stage, we agree with petitioner.  Merely*56  producing and bringing stone to the exempt stage does not, however, entitle petitioner to the cost allowance provided for in section 403 (i) (3).  In order to qualify for this allowance, the burden was on petitioner to prove also that it was an integrated producer who processed, refined, or treated a mineral product beyond *773  the first form or state for industrial use. It has not met this burden.  It had no contract calling upon it to supply a mineral product processed, refined, or treated beyond the exempt stage.  Its contracts were for the construction of roads and sidewalks at Camp Hood.  All that it did, and all that its contracts required it to do, after it produced the crushed stone was to haul it to Camp Hood and use it in the construction of roads and sidewalks. This use of crushed stone can not be classified as processing, refining, or treating it beyond the first form or state suitable for industrial use. It is in fact the industrial use for which the stone was intended.Although this, without more, is sufficient to justify the denial to petitioner of the cost allowance claimed, it may not be amiss to point out that we think there is another and equally*57  sound reason why petitioner can not prevail.  A study of section 403 (i) (3), its legislative history, and the above quoted regulation discloses that its purpose was to give an integrated producer of a mineral product who processed, refined, or treated it to and beyond the exempt stage a cost allowance equivalent to what such a producer could have received if he had sold the mineral product at the exempt stage.  It is quite apparent, therefore, that Congress had in mind a producer who had such a property interest in the mineral product that he could have sold it at the exempt stage.  Petitioner was not such a producer. At the time it and others bid for the Camp Hood construction contracts, they were advised by the War Department that the successful bidder could use without charge stone located on Government-owned lands adjacent to Camp Hood.  All of the stone used in the performance of the contracts here involved was extracted from these lands.  The right given to petitioner to use this stone did not include the right to sell it at the exempt stage, and the small sales of crushed stone made by petitioner and mentioned in our findings were made at the request of and pursuant to*58  permission granted by the Government.  Inasmuch as petitioner had merely the right to use the stone in the performance of Government contracts for roads and sidewalks at Camp Hood, and did not have a property interest therein which permitted it to sell the stone at the exempt stage, it is not entitled to the cost allowance provided for in section 403 (i) (3).  This conclusion gives a rational construction to a statutory provision which was intended to provide an incentive to increase production to integrated producers of mineral products needed in the war effort and not to producers such as petitioner, who were permitted to mine and use without charge only so much of a mineral located on Government-owned lands as was necessary to enable them to complete construction contracts.In view of the conclusion reached, we deem it unnecessary to decide the amount of the cost allowance petitioner would have been entitled to if it met the requirements of section 403 (i) (3), or whether this section *774  should be construed to apply only to a contract or subcontract for the product of a mine, as respondent urges.Petitioner's next contention is that, inasmuch as the War Department determined*59  in its administration of the Renegotiation Act that contractors are entitled to a rental allowance based on the 1938 Schedule of Average Ownership Expenses compiled by the Associated General Contractors of America, Inc., and issued its instructions to such effect, it is entitled, for the purpose of renegotiation, to a cost allowance for the use of owned equipment, computed according to such schedule.In support of its contention, petitioner introduced in evidence, as its Exhibit 1, a mimeographed sheet issued by the office of the division engineer of the War Department at Dallas, Texas.  This sheet purports to contain "Instructions for preparation of PAS-CD Form No. 6." PAS-CD Form No. 6 was not introduced in evidence.  Petitioner relies upon instruction on item 2D (2) and note 1 contained on the instruction sheet 3 as an interpretation placed on the statute by the administrative agency charged with its enforcement which authorizes it to substitute for the actual costs incurred in the use of equipment which it owned and used in connection with its renegotiable business a rental allowance computed in accordance with the 1938 A. G. C. schedule, which is in evidence.  Thus petitioner*60  hopes to secure a decrease of $ 89,110.59 in the profits realized on its renegotiable business.At the time the petitioner's counsel offered "Ex. 1" in evidence, the presiding judge stated that he had considerable doubt as to its relevancy, but admitted it in evidence out of an abundance of caution.  All it purports to do is to instruct contractors how to fill out a certain form which is not in evidence.  Apparently this form called for certain information to assist the division engineer of the War Department*61  in computing costs on a specific "job," as the words "this job" are used repeatedly in the instruction sheet. We are unable to see any justification for the petitioner's contention that the instruction with reference to item 2D (2) and the language used in note 1 constitute an interpretation placed on the statute by an administrative agency charged with its enforcement which is binding upon this Court.  The Renegotiation Act provides that each proceeding before this Court be treated as a proceeding de novo.  We are not concerned, therefore, with what the respondent did or did not consider to be an item of cost in connection with his determination.  Petitioner's actual *775  costs and expenses have been stipulated.  Unless they are unreasonable, the statute contemplates that they be used in the computation of petitioner's excessive profits. The petitioner's claim that it be allowed as an item of expense or cost on equipment which it owned a rental allowance of $ 126,801.50, computed according to the A. G. C. schedule, is denied.The questions heretofore decided dispose of the only issues raised by petitioner in its petition, and not thereafter waived or abandoned.  It follows, *62  therefore, that petitioner has not proved that the respondent's original determination that it had excessive profits of $ 245,000 for 1942 is erroneous.  At the hearing the respondent filed an amendment to his answer asking that petitioner's profits be redetermined to be excessive to the extent of $ 270,000, thus increasing his original determination in the amount of $ 25,000.  The burden was on the respondent to justify his claim for this increase.In Stein Brothers Manufacturing Co. v. Secretary of War, 7 T. C. 863, this Court said:* * * Congress, in section 403 (c) (3), indicated some guides to be used.  Factors deemed relevant were already known by Congress to be in use in voluntary renegotiations when the act here in question was enacted.  The Secretaries directed the renegotiating authorities to use those same factors and their use as to subsequent years was later required by an amendment to the Renegotiation Act. See section 403 (a) (4) (A) as provided in section 701 of the Revenue Act of 1943.  They are the factors which any reasonable person would naturally use in determining the amount of excessive profits. * * * Those factors are as*63  follows:(i) efficiency of contractor, with particular regard to attainment of quantity and quality production, reduction of costs and economy in the use of materials, facilities, and manpower;(ii) reasonableness of costs and profits, with particular regard to volume of production, normal prewar earnings, and comparison of war and peacetime products;(iii) amount and source of public and private capital employed and net worth;(iv) extent of risk assumed, including the risk incident to reasonable pricing policies;(v) nature and extent of contribution to the war effort, including inventive and developmental contribution and cooperation with the Government and other contractors in supplying technical assistance;(vi) character of business, including complexity of manufacturing technique, character and extent of subcontracting, and rate of turnover;(vii) such other factors the consideration of which the public interest and fair and equitable dealing may require, which factors shall be published in the regulations of the Board from time to time as adopted.The evidence introduced in the instant proceeding in the form of a stipulation and otherwise does not enable us to consider these*64  various factors.  Evidence which would enable such consideration was apparently not submitted by the petitioner because its principal contention was that it had no excessive profits because the costs, which *776  it urged the statute allowed, were in excess of its income from its contracts with the War Department.  In attempting to carry his burden of proving that petitioner's excessive profits amounted to $ 270,000 rather than $ 245,000 the respondent did not fill in the omissions.  At the hearing he presented two witnesses who testified as experts.  These witnesses were given hypothetical questions containing a fair resume of stipulated and proven facts, and asked what in their opinion a fair and reasonable profit would be for the petitioner on its 1942 business subject to renegotiation, before Federal income taxes.  The first witness, an investment counselor, testified that in his opinion a fair profit would be $ 68,000.  This, according to the witness, put the industry in line with what the construction industry as a whole earned in 1942 according to a publication of the Treasury Department, Bureau of Internal Revenue, entitled "Statistics of Income." The second witness, a*65  member of a consulting engineering firm, who had had considerable experience with various types of paving in both Texas and China, testified in answer to the same question that in his opinion a fair profit would be $ 67,000.  He stated that his estimate of reasonable profit was based on cost factors only.This opinion testimony does not convince us that petitioner's excessive profits for the year 1942 were more than the amount originally determined by the respondent.  Neither of the witnesses had any personal knowledge of petitioner's operations or the difficulties it experienced and surmounted in connection with the execution of the Camp Hood contracts.  In the questions presented to them they were not advised as to the efficiency of petitioner "with particular regard to attainment of quantity and quality production, reduction of costs and economy in the use of materials, facilities and manpower," as to the reasonableness of its costs, as to the amount and source of public and private capital employed, or as to the extent of risk assumed by the petitioner.  The failure to incorporate facts pertaining to these factors in the assumed facts set forth in the hypothetical questions submitted*66  to the expert witnesses, because there was no basis in the evidence therefor, materially detracts from the value of their estimates of what would be a fair and reasonable profit for petitioner on its renegotiable business for 1942.  The respondent's claim for an increase in the amount of excessive profits is bottomed on the testimony of these two witnesses.  This testimony does not convince us that the amount of the petitioner's excessive profits was in excess of $ 245,000.  We have therefore found as a fact that the petitioner during the year 1942 realized from sales subject to renegotiation excessive profits in the amount of $ 245,000.An order will be issued in accordance herewith.  Footnotes*. Sales of 136, 224, 90, and 240 cubic yards were made at 80 cents per cubic yard, and one sale of 8,528 cubic yards was made at 83 cents per cubic yard.↩*. Loss.↩*. Before renegotiation.↩1. Sec. 403 (i) [Renegotiation Act of 1943].  * * ** * * *(3) In the case of a contractor or subcontractor who produces or acquires the product of a mine, oil or gas well, or other mineral or natural deposit, or timber, and processes, refines, or treats such a product to and beyond the first form or state suitable for industrial use, or who produces or acquires an agricultural product and processes, refines, or treats such a product to and beyond the first form or state in which it is customarily sold or in which it has an established market, the Board shall prescribe such regulations as may be necessary to give such contractor or subcontractor a cost allowance substantially equivalent to the amount which would have been realized by such contractor or subcontractor if he had sold such product at such first form or state.  * * *Sec. 403 (i) [Renegotiation Act of 1942].  * * ** * * *(1) The provisions of this section shall not apply to --* * * *(ii) any contract or subcontract for the product of a mine, oil or gas well, or other mineral or natural deposit, or timber, which has not been processed, refined, or treated beyond the first form or state suitable for industrial use; and the Secretaries are authorized by joint regulation, to define, interpret, and apply this exemption.↩2. "* * * Consequently, * * * at the suggestion of the departments, there has been added a provision expressly authorizing the making of appropriate cost allowances in the case of an integrated producer who processes an exempted product up to and beyond the first form or state suitable for industrial use in order to place such producer in a position comparable with that of other producers who sell such products." (Senate's Report Accompanying H. R. 3687, 78th Cong., 1st sess., dated Dec. 22, 1943, p. 35.)"To insure the equitable treatment of contractors or subcontractors producing minerals, oil or gas, or timber, and who process, refine, or treat such products to or beyond the first form or state suitable for industrial use, * * * the Board is required to prescribe such regulations as may be necessary to give the contractor or subcontractor a cost allowance substantially equivalent to the amount which would have been realized by him if he had sold such products in their first form or state." (Report of the House Committee on Ways and Means, Nov. 18, 1943, 78th Cong., 1st sess., pp. 81, 82.)↩3. Item 2D (2).  Attach schedule showing make, cost, age, and time used on this job of each piece of equipment.  Compute rental on the basis of "Expense per Working Month -- Dollars," according to A. G. C. Schedule of Average Ownership Expenses, 1938 Edition.Note: 1. Rentals charged for use of your previously owned equipment as entered in Item 2D (2) cover depreciation, overhauling, major repairs and painting, interest, taxes and insurance.  Do not include elsewhere in your job costs any duplication of these items↩.